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                                                                                    1313 North Market Street
                                                                                                P.O. Box 951
                                                                                  Wilmington, DE 19899-0951
                                                                                                302 984 6000
                                                                                   www.potteranderson.com

                                                                                        Stephanie E. O’Byrne
                                                                                            Attorney at Law
                                                                               sobyrne@potteranderson.com
                                                                                  302 984-6067 Direct Phone
                                                                                           302 658-1192 Fax

                                        February 14, 2018


VIA ELECTRONIC-FILING
The Honorable Leonard P. Stark
U.S. District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Wilmington, DE 19801-3556

       Re:     Thermo Fisher Scientific Inc., et al. v. Agilent Technologies, Inc.
               (C.A. No. 17-600-LPS-CJB)

Dear Chief Judge Stark:

The parties now have two disputes regarding the scope of a Protective Order for this case (the
parties resolved the second dispute identified in their February 1, 2018 letter). First, through the
Protective Order, Thermo seeks unfettered use of Agilent’s Confidential Information in any Inter
Partes Review (IPR) at the Patent Trial and Appeals Board (PTAB). Because the PTAB has yet
to institute an IPR, at this stage of the case, the Protective Order should not provide what
amounts to a blanket cross-use provision; instead, the Protective Order should include a
procedure by which a party may request amendment of the Protective Order upon the satisfaction
of specific criteria, e.g., the PTAB institutes one or more IPRs and the PTAB enters its own
protective order that provides equivalent protections to those in this Court’s protective order,
including destruction of confidential information at the conclusion of the proceedings. Next,
Agilent agreed to Thermo’s request that two in-house counsel have access to confidential
information otherwise accessible to only outside counsel. Thermo, however, seeks to undermine
the numerical limitation by allowing a party to substitute in-house counsel not only if one of
those attorneys leave the employ of the party, but also if one of the attorneys stops having
responsibility for the litigation. Given the parties competitive relationship, this amorphous
standard does not alleviate Agilent’s concern of having more than two Thermo in-house
attorneys having had access to its confidential information, regardless of whether they are still
working on the litigation. Agilent requests, instead, that substitutions be permitted only if the
attorney ceases to be employed by the party.

Confidential Information Produced Here Should Not Be Used in any IPR Proceeding Unless
those Proceedings Guarantee That the Confidential Information Will Not Become Public:
Thermo improperly proposes in paragraph 2 of the Protective Order that Confidential – Outside
Attorney’s Eyes Only (COAEO) and Confidential – Outside Attorney’s Eyes Only – Source
Code (COAEO-Source Code) can be used in any IPR. With no IPR having been instituted, this
request should be denied because it fails to afford Agilent with any protections that Agilent’s
COAEO and COAEO-Source Code information provided to the PTAB will not become public.
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Until it is clear how the PTAB will protect a parties’ confidential information, allowing a blanket
cross-use is premature. And this Court’s decision in 454 Life Sciences Corporation v. Ion
Torrent Systems, Inc., C.A. No. 15-595-LPS (D.I. 47) is not to the contrary. There, the Court
allowed use of confidential information produced in the litigation in an IPR—after institution of
the IPR—but neither the parties nor the Court addressed the PTAB’s discretionary procedures
for treatment of confidential information. Indeed, while the PTAB Trial Practice Guide allows
for entry of a protective order and the filing of confidential information under seal, what happens
to that confidential information at the PTAB differs dramatically from what happens in district
court litigation. 77 Fed. Reg. 48756, 48760 (Aug. 14, 2012). Importantly, the PTAB Trial
Practice Guide makes clear that “[c]onfidential information that is subject to a protective order
ordinarily would become public 45 days after denial of a petition to institute a trial or 45 days
after final judgment in a trial. There is an expectation that information will be made public
where the existence of the information is referred to in a decision to grant or deny a request to
institute a review or is identified in a final written decision following a trial.” Id. at 48761
(emphasis added). Stated succinctly, and unlike district court practice where confidential
information is routinely redacted, if the PTAB relies on Agilent confidential information, by
default, that information becomes public. Again, neither the parties nor the Court in 454 Life
addressed this significant point. Agilent has invested millions in developing complex mass
spectrometry technology. Its confidential sales, marketing, contracts and source code should not
be made public at the discretion of one of its competitors by virtue of the PTAB’s default
publicity policy. A ruling from this Court allowing unfettered use in the PTAB could be
devastating to Agilent, allowing a direct competitor to publish confidential Agilent information
through the PTAB’s “expectation” of publicity.

While the PTAB rules allow a party to move to expunge information from the PTAB record, that
remedy is discretionary with the PTAB panel and the moving party must overcome the PTAB’s
“expectation that [relied upon] information [will] become public.” Id.; 37 C.F.R. § 42.56.
During the parties’ meet and confer discussions, Thermo indicated that it expected to use Agilent
confidential information to argue commercial success in opposition to an obviousness challenge;
to make such an argument, Thermo would likely present Agilent’s confidential technical
information to allege that Agilent actually practices the claim and Agilent’s confidential financial
and marketing information to show that alleged infringement contributed to the success of the
Agilent product. Until it is known whether the particular panel of PTAB judges assigned to the
IPRs are willing to seal and expunge Agilent’s COAEO and COAEO-Source Code information,
the risk of public disclosure is too high and this Court should defer the issue. Indeed, procedural
rulings by the PTAB vary significantly among the 250+ PTAB administrative patent judges and
there are very few precedential rulings from that body. To date, there is no precedential decision
indicating whether expungement will be granted when highly confidential sales or technical
information (including source code) is cited and relied upon by one of the parties to the IPR
proceeding. And, individual PTAB panels have treated the issue differently and rejected
attempts to expunge information important to their decision. See, e.g., RPX Corp. v. VirnetX
Inc., IPR2014-00171 (Paper 62, Sep. 9, 2014) (Ex. B) (denying blanket request to expunge, but
allowing some, but not all, information to be expunged); Intri-Plex Technologies, Inc. et al. v.
Saint-Gobain Performance Plastics Rencol Ltd., IPR2014-00309 (Paper 92, Oct. 2, 2015) (Ex.
C) (denying post-IPR-trial motion to expunge customer names and description of manufacturing
processes).
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Given the real risks and uncertainties, rather than including a blanket cross-use, the Protective
Order should permit either party to move to amend the Protective Order after (1) an IPR has been
instituted, and (2) in that IPR, the PTAB panel has entered an order that agrees to expunge
confidential information. Confidential information may only be used in an IPR that provides
such protections.

Substitution of In-House Counsel. Thermo requested, and as a matter of compromise, Agilent
agreed, to have two in-house attorneys included in the set of attorneys that can access COAEO
and COAEO-Source Code information. Thermo, however, also proposed that the parties be
permitted to substitute those two attorneys “should the need arise.” Ex. A at ¶2(d). To this
Agilent could not agree because such an amorphous standard would enable virtually unlimited
substitution of in-house counsel. Again, as a compromise, Agilent agreed that if the designated
in-house attorneys left the employment of the party, then that would justify substitution. Thermo
however, now wants to be able make a substitution not only if the in-house attorney leaves the
employment of the party but also if another vague standard is met – if the attorney no longer has
responsibility for the litigation. Such a standard is difficult for Agilent to evaluate from the
outside and understand whether that attorney really has no involvement in the litigation. But
even if an attorney no longer has responsibility for the litigation, he or she might still be involved
in making decisions on what patents Thermo should file, how to draft contracts in competition
with Agilent or a host of other activities that could be harmful to Agilent. Likewise, Thermo’s
proposal places no limitation on the number of times it may switch responsibilities of its in-
house counsel, thus potentially providing many Thermo attorneys with intimate knowledge of
Agilent’s technical materials, its marketing strategies, its business relationships with its
customers and its confidential sales information. Allowing two in-house counsel at any one time
to review COAEO and COAEO-Source Code is adequate to allow Thermo to advise its clients
on the merits of the case. Should one of those attorneys leave employment at Thermo, then it
can substitute another attorney that meets the other requirements of the protective order. But this
Court should reject Thermo’s request to expand the bases for a substitution.

                                                              Respectfully,

                                                              /s/ Stephanie E. O’Byrne

                                                              Stephanie E. O’Byrne

SEO/msb/5622845/44416
Enclosures
cc:    Clerk of the Court (via hand delivery) (w/encs.)
       Counsel of Record (via electronic mail) (w/encs.)
